   Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 1 of 20 PageID #: 1087




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

MICHAEL AMOS, et al.                                                                 PLAINTIFFS

VS.                                               CIVIL ACTION NO. 4:20-CV-07-DMB-JMV

TOMMY TAYLOR, et al.                                                               DEFENDANTS


       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ RESPONSE IN
      OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
      RESTRAINING ORDER AND PRELIMINARY INJUNCTION AS TO COVID-19


        Despite having no facts and no apparent understanding of precautionary actions being

taken by the Mississippi Department of Corrections (“MDOC”) to protect inmates, staff, and the

public from the potential spread of COVID-19 at the Mississippi State Penitentiary

(“Parchman”), Plaintiffs ask the Court to intervene and order MDOC to take a litany of other

measures—many of which MDOC is already taking. See Exhibits A, B, and C. Plaintiffs have no

support for their assumption that their requested measures would be more effective in preventing

the outbreak or spread of COVID-19 than those already being taken by MDOC. In fact, before

filing their Motion, Plaintiffs did not even bother to confer with Defendants or inquire as to the

current measures MDOC is taking. Instead, Plaintiffs allege that Defendants have a “woeful

healthcare record,” and speculate that Defendants therefore must not be taking measures to

“confront the COVID-19 pandemic.” Doc. 60 at 8. Plaintiffs present no evidence whatsoever to

show that Defendants are acting with deliberate indifference to the impact of COVID-19 or that,

absent Court intervention, Plaintiffs will be left “without any meaningful measures to protect

them from the deadly pandemic unfolding on their doorstep.” Id. Such conjecture and hyperbole
    Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 2 of 20 PageID #: 1088




underscore the pretext of Plaintiffs’ Motion – publicity, media attention, and inflaming the

emotions of the public with misinformation.

        If Plaintiffs had bothered to simply confer with Defendants to discuss MDOC’s current

COVID-19 measures before filing their Motion and involving the Court, Plaintiffs would have

learned that MDOC is already actively engaged in significant courses of action to protect inmates

and staff from COVID-19, including many of the measures identified by Plaintiffs.1 MDOC and

its third-party healthcare provider, Centurion of Mississippi, LLC (“Centurion”), are currently

engaged in the following:

        1. Internal and External Consultation/Monitoring: MDOC officials have been
           meeting internally and consulting externally with the proper officials and agencies to
           ensure appropriate preventative measures regarding COVID-19. MDOC is consulting
           with top public health and other officials, including the Mississippi Department of
           Health and the U.S. Department of Homeland Security’s Office for State and Local
           Law Enforcement, regarding the appropriate precautions to be taken concerning
           COVID-19. See Agenda of Telephone Conference with DHS, attached as Ex. 1 to the
           Declaration of Jeworski Mallett (Ex. A). MDOC, in consultation with health officials,
           continues to monitor new developments and implement preventative and responsive
           measures related to COVID-19. See Declaration of Dr. Gloria Perry (Ex. B).2

        2. Collaboration between MDOC and Centurion: MDOC is working closely with
           Centurion to implement the provisions of Centurion’s Pandemic Preparedness and
           Emergency Response Plan (the “Centurion Plan”). See Ex. 2 to Mallett Declaration
           (Ex. A); see also Declaration of Willie Knighten of Centurion (Ex. C). The Centurion
           Plan provides written protocols or best practices for the diagnosis, treatment, and
           management of conditions related to infectious diseases such as COVID-19. The
           Centurion Plan includes, but is not limited to, protocols or guidance for: prevention;
           surveillance; inmate education; treatment, including medical insolation; follow-up
           treatment; reporting; monitoring current community and national trends; appropriate
           safeguards for inmates and staff; providing personal protective equipment (“PPE”);

1
 Had Plaintiffs conferred with Defendants before filing their Motion, the parties could have also saved
valuable time and resources that should be instead aimed at addressing the impact of COVID-19.
2
 The gravity and breadth of the potential impact of COVID-19 continues to evolve. MDOC and
Centurion are actively engaged in following the recommendations and guidelines issued by global,
national, and local health authorities and leaders, which change and develop daily. MDOC and Centurion
have been monitoring the development of COVID-19 and adapting their prevention and response plans as
necessary to protect inmates, staff, and the public. Updated recommendations, practices, and guidance
materials are being assessed and implemented where appropriate.

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Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 3 of 20 PageID #: 1089




      education and training regarding PPE; and post-exposure management. The Centurion
      Plan sets “preparedness” action items based on the severity of the virus outbreak, and
      MDOC is following those action items. MDOC is also implementing Centurion’s
      “Coronavirus Awareness” guide, attached as Ex. 3 to the Mallett Declaration (Ex. A),
      which includes, among other things, procedures for screening staff and other visitors
      and restrictions on staff from entering the facility with symptoms of the virus or if
      they have traveled to a high-risk area. See also Ex. C, discussing screening measures.

   3. Staff Screening: MDOC officers and other staff are screened daily upon entering
      Parchman for symptoms and other indicators of exposure to COVID-19. Specifically,
      staff members are screened pursuant to a COVID-19 screening form provided by
      Centurion, attached as Ex. 4 to the Mallett Declaration. MDOC staff are routed to an
      alternative screening area at the visitation center to facilitate safe screening. The
      screening process includes questions about each staff member’s symptoms, if any,
      including headaches, fevers, coughing, shortness of breath, and trouble breathing.
      MDOC subjects staff members to daily temperature screenings before they are
      permitted on the grounds. Id.

   4. Inmate Monitoring/Testing: As discussed above, the Centurion Plan provides
      written guidance for diagnosis, treatment, and management of conditions related to
      infectious diseases such as COVID-19, including protocols for prevention,
      surveillance, and treatment, including medical insolation. In addition to implementing
      the Centurion Plan, MDOC officers are currently actively monitoring inmates for
      symptoms of COVID-19, such as headaches, fevers, coughing, shortness of breath,
      and trouble breathing. Should healthcare staff determine an inmate is exhibiting signs
      or symptoms of COVID-19, through screening or otherwise, specific measures will
      be taken as described in the declaration of Health Services Administrator Willie
      Knighten, attached as Exhibit C, and COVID-19 testing will be administered per local
      and Centers for Disease Control protocols and availability. See Ex. B and C.

   5. Inmate Quarantine/Isolation: At this time, there are no confirmed cases of COVID-
      19 at Parchman. Should MDOC learn that an inmate or staff member has contracted
      COVID-19, MDOC will apply the Centurion Plan as well as its own policies
      developed to combat the spread of COVID-19. Under these plans and policies,
      inmates who either test positive for COVID-19 or is suspected of having COVID-19
      will be isolated and any inmate or staff member suspected of being exposed will be
      quarantined. Further precautionary steps will also be taken, as more specifically
      described in the declaration of Willie Knighten, attached as Ex. C, including the use
      of personal protective equipment. In the unfortunate event there are insufficient
      numbers of negative-pressure rooms, MDOC will quarantine and isolate inmates from
      the remainder of the general population in alternative cells or housing areas. Ex. A.

   6. Suspension/Restriction of Transfers: MDOC has suspended all transfers of inmates
      from county jails to MDOC facilities for the next 30 days. See Ex. 5 to Mallett
      Declaration (Ex. A). MDOC is monitoring conditions and developments and will
      extend the restriction as necessary to protect inmates and staff. MDOC has also
      substantially restricted all transfers between MDOC facilities for the next 30 days.

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Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 4 of 20 PageID #: 1090




      Transfers between facilities will be limited to those absolutely necessary. For those
      transfers that have been necessary, MDOC has screened inmates for COVID-19
      symptoms upon arrival. Even if transferred inmates do not currently have symptoms,
      MDOC isolates those inmates so as to reduce the risk to the general population.
      MDOC is monitoring conditions and developments and will extend the restriction as
      necessary to protect inmates and staff. Ex. A.

   7. Suspension of In-Person Visitation / Increased Sanitation for Essential
      Visitations: MDOC has temporarily suspended visitation at all MDOC facilities “in
      order to establish sanitation and prevention protocols to prevent the spread of
      COVID-19.” See Ex. 6 to Mallett Declaration (Ex. A). MDOC is currently permitting
      visitation by attorneys who satisfy MDOC screening requirements and has established
      protocols requiring all visitation areas to be effectively sanitized at the completion of
      each visit.

   8. Non-Contact Visitation: MDOC has undertaken measures to ameliorate the effects
      of the denial of in-person visitation. For instance, MDOC has implemented a policy
      permitting inmates to make two free phone calls per week. See Exhibit 7 to Mallett
      Declaration (Ex. A). According to Interim Commissioner Tommy Taylor, “[t]his is
      another way to help inmates stay connected with their loved ones and to be reassured
      of their welfare during this trying time.” Id.

   9. Common Health Practices: MDOC is recommending and reinforcing common
      health practices and other guidelines provided by the Mississippi Department of
      Health and the CDC, including:
         Coughing or sneezing into the bend of the arm, not the hand;
         Frequent hand washing for at least 20 seconds or use of hand sanitizer;
         Avoiding touching of eyes, nose, or mouth with unwashed hands;
         Avoiding social contact such as shaking hands, hugging, or sharing personal
          items; and
         Use of disinfectants to sanitize high-touch surfaces, such as workstation surfaces,
          computer keyboards, countertops, doorknobs, light switches, handrails, control
          panels, buttons, and tabletops. Ex. A.

   10. Education of Staff and Inmates: MDOC is educating staff and inmates regarding
       the above-referenced universal common health practices. MDOC has distributed
       materials outlining the above common health practices to the inmates. These
       materials are posted in all inmate housing units as well as on bulletin boards in
       hallways and other common areas. Further, wardens, deputy wardens, and other
       MDOC officers have visited each housing unit to verbally inform inmates of the
       above-referenced common health practices. Id.

   11. Institutional Hygiene: MDOC is ensuring that additional chemicals and other
       cleaners are available to providing additional sanitation at Parchman. MDOC has
       thoroughly cleaned and sanitized all areas at Parchman and will continue to do so to
       ensure proper sanitation is achieved. Id.


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   Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 5 of 20 PageID #: 1091




       12. Personal Hygiene: MDOC has provided extra supplies of liquid and solid soap to
           inmates to ensure that each inmate’s supply is sufficient to follow the recommended
           universal common health practices outlined above. Id. MDOC, like other correctional
           agencies across the country, does not provide inmates with their own bottles of hand
           sanitizer containing at least 60% alcohol because it can be used to make drinking
           alcohol. However, hand sanitizer is available to MDOC staff. According to the
           Centers for Disease Control and Prevention, the most effective method of good hand
           hygiene is handwashing with soap and water for 20 seconds. See Ex. B.

       MDOC’s COVID-19 measures are consistent with, if not more preventative than, those

being taken by other correctional agencies and institutions across the country, including the

federal bureau of prisons. See Ex. A, B, and C. The attached declarations refute Plaintiffs’

baseless claim that MDOC’s response “has been merely to cancel visitation and limit transfers.”

Doc. 60 at 3. Plaintiffs offer no factual support whatsoever to show that their points of requested

emergency relief are not already being addressed by MDOC to the extent feasible and

appropriate. Id. at 3-6. Plaintiffs also offer no support to show that their requested measures are

as effective or are more effective than MDOC’s current actions. In fact, the only exhibit utilized

by Plaintiffs that even mentions their specific requests is a declaration from Dr. Marc Stern, but

Dr. Stern does not allege that MDOC’s current preventative measures are inadequate. See Doc.

59-6. It does not appear that Dr. Stern is even aware of the current measures being taken by

MDOC and Centurion. Id. Moreover, Dr. Stern is not an infectious disease specialist, and he

admits he has only “recently familiarized [himself] with the virus.” Id.

       To be clear, Defendants do not dispute that COVID-19 presents serious health risks, but

MDOC is currently taking the proper and reasonable proactive measures to prevent infiltration of

COVID-19 into Parchman and to be prepared to respond to any outbreak at Parchman. See Ex.

A, B, and C. Accordingly, Plaintiffs’ Motion is unfounded and improper; it fails to even present

a claim to be addressed by the Court and should be denied.




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    Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 6 of 20 PageID #: 1092




                                               ARGUMENT

         Plaintiffs are correct that “Defendants are charged by law with protecting the inmates

under their care and custody,” Doc. 60 at 3, but there are guidelines for determining the extent

and reasonableness of the measures to be taken. The Prison Litigation Reform Act (“PLRA”)

was enacted to limit court involvement in directing state prison operations. Plaintiffs are asking

the Court for an order of so-called “relief” that is premature, unsupported by any evidentiary

basis, inconsistent with the PLRA, and fails under the deliberate-indifference and preliminary-

injunction standards. As shown below, Plaintiffs have failed to meet their “heavy burden” to

demonstrate entitlement to the extraordinary remedy of granting preliminary injunctive relief.3

    I.   The “relief” requested by Plaintiffs is not appropriate under the PLRA.

         Congress enacted the Prison Litigation Reform Act in 1996 to bring prison condition

litigation under control and “restrict the authority of federal courts to issue and enforce

compliance with orders for prospective relief, and thus to curb the involvement of the federal

judiciary in prison management.” United States v. Territory of the Virgin Islands, 884 F. Supp.

2d 399, 406–08 (D.V.I. 2012) (quoting Gilmore v. California, 220 F.3d 987, 991 (9th Cir. 2000)

(“It is clear that Congress intended the PLRA to revive the hands-off doctrine,” the former “rule

of judicial quiescence” that the federal judiciary not be involved with the problems of state-run

prisons)); Inmates of Suffolk Cty. Jail v. Rouse, 129 F.3d 649, 655 (1st Cir. 1997).

         The purpose of a temporary restraining order (“TRO”) is typically “to preserve the status

quo and prevent irreparable harm, but only until the court can hold an adversarial hearing for a


3
  Plaintiffs offer no factual support for their assertion that MDOC’s response to COVID-19 is “feckless.”
Doc. 60 at 2. Instead, it is clear that Plaintiffs’ Motion, filed without first making any good-faith effort to
determine the measures being implemented by MDOC, is about garnering attention in the media. See id.;
see also Exhibit D, a collection of Plaintiffs’ counsel’s recent social media postings related to their
COVID-19 Motion for preliminary relief. At the February 3, 2020 motion hearing, the Court was clear
that counsel should not interject this case into the media. See hearing transcript at page 118, lines 11–20.

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   Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 7 of 20 PageID #: 1093




preliminary injunction[,]” and the purpose of a preliminary injunction is typically to “preserve

the status quo during the course of litigation until the court can hold a trial on the matter.”

Walker v. Turner, 2019 WL 615360, at *1 (N.D. Miss. Feb. 11, 2019). However, Plaintiffs do

not seek to preserve the status quo. Rather, Plaintiffs seek affirmative “relief” from a problem

that has not been shown to exist and from constitutional violations that they have not established.

A request for a mandatory injunction, seeking relief well beyond the status quo, is “particularly

disfavored, and should not be issued unless the facts and the law clearly favor the [Plaintiffs].”

Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976). ). Here, they do not.

        The PLRA “greatly limits the ability of a court to fashion injunctive relief.” Dockery v.

Hall, No. 13-cv-326, Doc. 850 at 14 (S.D. Miss. Dec. 31, 2019). It provides that “prospective

relief in any civil action with respect to prison conditions shall extend no further than necessary

to correct the violation of the Federal right of a particular plaintiff or plaintiffs.” 18 U.S.C. §

3626(a)(1)(A) (emphasis added). It follows that under the PLRA, the Court must first find a

“violation of [a] Federal right” to “correct.” Id. Next, before preliminary injunctive relief can

issue, a district court must find that such relief is “narrowly drawn, extend[s] no further than

necessary to correct the harm the court finds requires preliminary relief, and [is] the least

intrusive means necessary to correct that harm.” Id. at § 3626(a)(2).

        There is no harm or violation here to be addressed by the Court because MDOC’s

measures are a reasonable response to the COVID-19 crisis, which is all that is required under

the deliberate indifference standard, and Plaintiffs have offered no evidence to the contrary. See

Ex. A, B, C. Even if there were some harm to be remedied, which there is not, the so-called

“relief” requested by Plaintiffs is not the “least intrusive means necessary” to prevent harm.

Thus, Court intervention is not warranted or appropriate.



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    Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 8 of 20 PageID #: 1094




        The “relief” requested in Plaintiffs’ Motion and memorandum seeks to require

Defendants to implement measures that are either already being undertaken, that are in many

respects not possible or recommended (such as testing every single inmate), or that have not been

shown by Plaintiffs to have any reasonable relation to preventing the alleged harm:

        a. Immediate Testing:4 Plaintiffs request that MDOC immediately “implement testing
           protocols for the identification and containment of COVID-19,” and further demand
           that such protocols include “the immediate testing of all inmates, Parchman
           employees, and all other individuals entering Parchman.” Doc. 60 at 3. Testing
           protocols have been implemented by Centurion, but it is not feasible or recommended
           that every inmate, employee, or other person entering Parchman be tested for
           COVID-19. The shortage of tests has been widely reported by the national and local
           media and acknowledged by numerous Federal and State officials.5 See also Ex. B.
           There are approximately 2,700 inmates and MDOC staff at Parchman. Ex. A. Even if
           testing every one of these individuals were advisable, it is doubtful the CDC would
           appropriate such testing resources. Current guidance from public health officials
           requires physicians to issue tests as needed only to individuals who meet certain
           criteria, including “symptomatic individuals at higher risk for poor outcomes.”6
           Centurion is responsible for inmate testing for COVID-19. Testing is done per local
           protocols and availability. It is currently not feasible, advisable, or recommended
           under any applicable guidelines to test individuals unless they have traveled to any
           area with an outbreak of COVID-19 or with sustained (ongoing) transmission; have a
           fever or cough; are short of breath; have been in close contact (less than six feet) with
           someone exhibiting COVID-19 symptoms or a confirmed case of COVID-19; or have
           a temperature of greater than 100.4 F. See Ex. B. And even if one or more of those
           factors applies, a test for influenza must also be conducted. Id. Plaintiffs’ mere
           disagreement with these testing protocols is not a basis for finding deliberate

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  For ease of reference, Defendants use the headings included in Plaintiffs’ Motion with no admission as
to their validity or legitimacy.
5
 E.g., Peter Whoriskey and Neena Satija, How U.S. Coronavirus Testing Stalled, THE WASHINGTON
POST (Mar. 16, 2020), online at https://www.washingtonpost.com/business/2020/03/16/cdc-who-
coronavirus-tests/ (last visited March 18, 2020).
6
 Guidance from the CDC and Mississippi Department of Health make clear that not all individuals
should be tested. Physicians, in their best judgment, “may” choose to test patients who: “within 14 days
of symptom onset had close contact with a suspected or laboratory-confirmed COVID-19 patient, or who
have a history of travel from affected geographic areas;” “[h]ospitalized patients who have signs and
symptoms compatible with COVID-19, such as fever and/or symptoms of acute respiratory illness . . . and
do not have an alternative explanatory diagnosis;” and “[o]ther symptomatic individuals at higher risk for
poor outcomes.” Mississippi Public Health Laboratory SARS-CoV-2 (virus that causes COVID-19)
Specimen Collection and Shipping Guidance, attached as Ex. E. As of March 17, 2020, the MSDH Public
Health Laboratory has performed only 389 tests. Coronavirus Disease 2019 (COVID-19), online at
https://msdh.ms.gov/msdhsite/_static/14,0,420.html (last visited March 18, 2020).

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    Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 9 of 20 PageID #: 1095




            indifference.7 Plaintiffs offer no proof that any Plaintiff would fall within the
            accepted criteria for testing, and Plaintiffs do not allege that any Plaintiff has
            requested and warranted testing but been refused.

        b. Immediate Screening: MDOC is already conducting the screening requested by
           Plaintiffs. Ex. A, B, C. As described above, under its current protocols, MDOC
           screens each employee or other person entering Parchman every day to determine
           whether the individual has any symptoms of COVID-19, including headaches, fevers,
           cough, shortness of breath, and trouble breathing. The individuals are also questioned
           regarding their recent travel, the travel of their friends and family, and whether they
           have been exposed to individuals who are experiencing COVID-19 symptoms.
           MDOC subjects each employee or other person entering Parchman to daily
           temperature screenings before they are permitted on the grounds. Moreover, if inmate
           transfers are necessary, those inmates are screened and then isolated even if they do
           not currently have symptoms.

        c. Current Inmate Quarantine: Plaintiffs ask that the Court require MDOC to
           establish non-punitive quarantine “for all individuals who test positive for COVID-
           19, who were directly exposed to individuals who test positive for COVID-19, or who
           exhibit symptoms of the virus.” Doc. 60 at 4. Plaintiffs make additional requests
           regarding where such inmates should be quarantined and what PPE should be worn
           by individuals interacting with such inmates. Id. at 4, 5. Again, the Centurion Plan
           implemented by MDOC provides best practices for diagnosis, treatment, and
           management of conditions related to infectious diseases such as COVID-19,
           including protocols or guidelines for, among other things: surveillance; treatment,
           including medical quarantine and insolation; follow-up treatment; safeguards for
           inmates and staff; providing PPE, education and training regarding PPEs; and post-
           exposure management. See Ex. A, B, C. MDOC, in conjunction with Centurion, have
           developed appropriate protocols for isolating inmates who contract the virus. These
           protocols include isolating symptomatic and virus-positive inmates in negative-
           pressure rooms and isolated housing units at Parchman. Additionally, all scheduled
           releases from Parchman will occur as planned, with necessary precautions taken. Id.
           Plaintiffs offer no evidence that their suggested protocol is not being followed.

        d. New Inmate Quarantine: Plaintiffs request that MDOC establish a 14-day, non-
           punitive quarantine for all new inmates entering Parchman. Doc. 60 at 4. MDOC has
           suspended all transfers of inmates from county jails to MDOC facilities for the next
           30 days and will extend the restriction as necessary to protect inmates and staff.
           MDOC has also substantially restricted all transfers between MDOC facilities for the
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  A prisoner’s belief that he should have received different treatment does not implicate the Eighth
Amendment because a mere disagreement with the treatment that was provided, absent exceptional
circumstances that do not exist here, does not support a claim of deliberate medical indifference. Gobert
v. Caldwell, 463 F.3d 339, 346 (5th Cir. 2006). To succeed on a Section 1983 claim for lack of medical
care under the deliberate indifference standard, a prisoner must establish that the defendants “refused to
treat him, ignored his complaints, intentionally treated him incorrectly, or engaged in any similar conduct
that would clearly evince a wanton disregard for any serious medical needs.” Domino v. Texas Dept. of
Crim. Justice, 239 F.3d 752, 756 (5th Cir. 2001) (quoting Estelle v. Gamble, 429 U.S. 97, 107 (1976)).

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    Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 10 of 20 PageID #: 1096




            next 30 days and will extend that restriction as necessary to protect inmates and staff.
            Transfers between MDOC facilities have been limited to those absolutely necessary.
            In the event such a transfer is necessary, MDOC has and will screen arriving inmates
            for COVID-19 symptoms and temporarily isolate those inmates even if they do not
            have symptoms. See Ex. A.

        e. Institutional Hygiene: Plaintiffs ask that the Court order MDOC to increase the
           sanitation and cleaning protocol and frequency for all public spaces, highly traveled
           areas, and cells. Doc. 60 at 4. As stated above, MDOC is already taking precautionary
           measures to ensure that additional chemicals and other cleaners are made available at
           Parchman for the purpose of providing additional sanitation. See Ex. A. MDOC has
           thoroughly cleaned and sanitized all areas at Parchman, and its staff will continue to
           do so to ensure proper sanitation is achieved. Id.

        f. Personal Hygiene: Plaintiff asks that MDOC be required to “provide hand sanitizer
           with 60% or more alcohol, antibacterial soap, antibacterial wipes and other hygiene
           products to each inmate free of charge and ensure replacement products are available
           as needed.” Doc. 60 at 4-5. Plaintiff further requests that the Court order MDOC to
           declassify hand sanitizer with 60% or more alcohol as contraband, since it is “one of
           the only methods proven to slow and prevent the spread of coronavirus.” Id. at 5.
           MDOC has distributed additional solid and liquid soap to inmates in sufficient
           qualities to ensure all are able to adhere to the common health practices outlined by
           the CDC and others. Ex. A. MDOC has not and cannot safely de-classify as
           contraband hand sanitizer with 60% or more alcohol. Id. Given that the CDC’s
           common health practices state that proper hygiene is achieved primarily through hand
           washing, the security risk of permitting use of individual hand sanitizer outweighs the
           alleged health concern in not providing bottles of it to inmates. Ex. B. MDOC’s
           policy in this regard is consistent with other institutions across the nation. Id.

        g. Limit Contact Visitation: Plaintiffs acknowledge MDOC has already limited
           physical contact visitation, but claims MDOC “must be required to implement or
           increase non-contact visitation options such as video conferencing and/or telephone
           calls for all types of visits[.]” Doc. 60 at 5. MDOC has undertaken measures to
           mitigate the effect of the denial of in-person visitation, in part by implementing a
           policy permitting inmates to make two free phone calls per week “to help people
           contact their loved ones.” See Ex. A. Plaintiffs have no constitutional right to video
           conferencing, and it is not deliberate indifference for MDOC not to provide it.8
           Furthermore, requiring MDOC to provide video conferencing services, which are not
           currently available at Parchman, would not be narrowly drawn or the least intrusive
           means necessary to “correct” any alleged violation. 18 U.S.C. § 3626(a)(2).


8
  “Convicted prisoners have no absolute constitutional right to visitation.” Lynott v. Henderson, 610 F.2d
340, 342 (5th Cir. 1980). “The very object of imprisonment is confinement,” and therefore restrictions on
visitation do not violate the Constitution so long as they “bear a rational relation to legitimate penological
interests.” Overton v. Bazzetta, 539 U.S. 126, 131–32 (2003). The Court “must accord substantial
deference to the professional judgment of prison administrators” in this regard. Id. at 132.

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     Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 11 of 20 PageID #: 1097




        h. Waive Copays: Plaintiffs claim MDOC and “healthcare providers working under
           [its] direction” “must be required to waive copays for inmate medical evaluation and
           care related in any way to COVID-19 and/or its symptoms.” Doc. 60 at 5. As stated
           above, even though non-indigent inmates have no constitutional right to a waiver of
           copays, and it is not deliberate indifference for MDOC to not waive copays, MDOC
           has already decided to waive copays related to COVID-19.9 See Ex. B.

        i. Supply Chain: Plaintiffs ask that the Court require MDOC to “identify the supplies
           and other materials upon which the institution is dependent … and prepare for
           shortages of these items, and delays or disruptions in the supply chain.” Doc. 60 at 5-
           6. This is a perfect example of Plaintiffs’ desire to have the Court “micromanage”
           MDOC, an impermissible exercise even if Plaintiffs had proven a constitutional
           deprivation, which they have not.10 The request is premature and based solely on the
           unsupported assertion that MDOC will run out of supplies. MDOC has already been
           taking inventory of their current supplies and planning for potential shortages and
           delays. MDOC has adequate stockpiles and has adequate plans in place to maintain
           necessary food and supplies. Ex. A. Plaintiffs’ proposed micromanagement is not the
           least intrusive means of preventing any perceived, but nonexistent, constitutional
           violation with regard to COVID-19 measures.

        j. Reporting: Plaintiffs want the Court to require MDOC to report weekly “to apprise
           the Court of the progress made in implementing the foregoing and the results of
           testing of employees and inmates; the numbers of COVID-19 cases at Parchman, if
           any; and the measures in place to separate inmates who have tested positive, or who
           may have been exposed, from the general population.” Doc. 60 at 6. This is the type
           of court involvement the PLRA sought to limit, particularly where there has been no
           showing whatsoever to justify the proposed reporting requirements.

        Accordingly, the requested “relief” is redundant to the protocols, best practices, and

guidelines already being implemented by MDOC, and such “relief” is premature, inappropriate,

and unnecessary under the PLRA. Thus, the Court should deny the Motion.




9
 See Morris v. Livingston, 739 F.3d 740, 746–47 (5th Cir. 2014) (upholding inmate charges for medical
services).
10
  The Fifth Circuit has explained that federal courts “are not to micromanage state prisons.” Gates v.
Cook, 376 F.3d 323, 338 (5th Cir. 2004) (citing Bell v. Wolfish, 441 U.S. 520, 562 (1979)). The Fifth
Circuit has further noted that “courts are ill-equipped to deal with the increasingly urgent problems of
prison administration . . . and that it is not wise . . . to second-guess the expert (or any other)
administrators on matters on which they are better informed.” Jones v. Diamond, 636 F.2d 1364, 1368
(5th Cir. 1981) (quoting Procunier v. Martinez, 416 U.S. 396, 405 (1974)). Problems associated with
operating prison facilities “are complex and intractable, and, more to the point, they are not readily
susceptible of resolution by decree.” Procunier, 416 U.S. at 405.

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   Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 12 of 20 PageID #: 1098




  II. Plaintiffs have failed to satisfy their burden to show that the Court should grant the
      requested temporary and preliminary injunctive relief.

       Even if Plaintiffs’ requests complied with the PLRA, which they do not, Plaintiffs fail to

satisfy their heavy burden under the test for allowing the extraordinary remedy of preliminary

injunctive relief. In Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567, 572 (5th Cir. 1974),

the Fifth Circuit established the four prerequisites for granting a preliminary injunction:

               (1) a substantial likelihood that plaintiff will prevail on the merits;

               (2) a substantial threat that plaintiff will suffer irreparable injury if
               the injunction is not granted;

               (3) that the threatened injury to plaintiff outweighs the threatened
               harm the injunction may do to defendant; and

               (4) that granting the preliminary injunction will not disserve the
               public interest.

Id. “In considering these four prerequisites, the court must remember that a preliminary

injunction is an extraordinary and drastic remedy which should not be granted unless the movant

clearly carries the burden of persuasion.” Id. at 573. To obtain temporary or preliminary

injunctive relief, Plaintiffs “must carry ‘a heavy burden of persuading the district court that all

four elements are satisfied,’ and failure to carry the burden on any one of the four elements will

result in the denial of the preliminary injunction.’” Leachman v. Harris Cty., Texas, 779 F.

App’x 234, 237 (5th Cir. 2019), as revised (Oct. 2, 2019) (quoting Enter. Int’l, Inc. v.

Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985)).

       It is critical to bear in mind that Plaintiffs are not just asking the Court to maintain the

status quo—they are asking for mandatory relief in the form of an order requiring MDOC to take

specific actions regarding COVID-19. Doc. 59; Doc. 60. Again, Plaintiffs’ request for

preliminary relief, which “goes beyond maintaining the status quo,” is “particularly disfavored,



                                                  12
     Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 13 of 20 PageID #: 1099




and should not be issued unless the facts and the law clearly favor the moving party.” Martinez,

544 F.2d at 1243. As discussed below, Plaintiffs are not “substantially likely” to prevail on the

merits of their claims, particularly given the “deliberate indifference” standard. Accordingly,

Plaintiffs have failed to carry their burden on all four Canal prerequisites, and therefore, the

Court should deny Plaintiffs’ motion for temporary and preliminary injunctive relief.11

            a. Plaintiffs are not substantially likely to succeed on the merits of their claims.

        It is clear that Plaintiffs do not understand the standard for prevailing on a motion for

preliminary relief related to a constitutional claim under the Eighth Amendment. Plaintiffs state:

“Given that the entire World is in a state of emergency, there is substantial likelihood that

Plaintiffs will succeed on the merits of their motion seeking reasonable protections for

themselves and the other inmates, who are particularly at risk, but who are not allowed the means

available to other citizens to protect themselves.” Doc. 60 at 7.12 First, Plaintiffs do not represent

“other inmates.” Second, to show that they are “substantially likely to succeed on the merits of

their claims,” Plaintiffs must show that it is substantially likely they will be able to prove that

Defendants are acting with “deliberate indifference” to their health or safety. Wilson v. Seiter,




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  The grant or denial of a preliminary injunction is within the discretion of the trial court. Apple Barrel
Productions, Inc. v. Beard, 730 F.2d 384, 386 (5th Cir. 1984).
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   Plaintiffs’ burden to prove deliberate indifference is even greater given that COVID-19 virus is an
“emergency”. Doc. 60 at 7. “In deciding whether the [Defendants] were deliberately indifferent to the
needs of the plaintiffs, however, [the Court] must also consider any relevant constraints.” Alberti v.
Sheriff of Harris Cty., 937 F.2d 984, 998 (5th Cir. 1991). The Supreme Court has made clear that in the
deliberate indifference analysis, the Court must look to the “constraints facing the official.” Wilson v.
Seiter, 501 U.S. 294, 303 (1991). If a widespread emergency is facing the official, courts are far less
likely to find deliberate indifference. E.g., Francis v. United States, 2007 WL 2332322, at *2 (E.D. La.
Aug. 13, 2007) (finding no deliberate indifference in conditions of confinement claim because
“[p]etitioner, his jailers, and many free residents of Greater New Orleans area suffered substantially
similar conditions in the aftermath of Hurricane Katrina”).

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     Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 14 of 20 PageID #: 1100




501 U.S. 294, 302–03 (1991).13 “Deliberate indifference is an extremely high standard to

meet.” Sanchez v. Young Cty., 866 F.3d 274, 280 (5th Cir. 2017).

        To satisfy “deliberate indifference,” it must be shown that a prison official “knows of and

disregards an excessive risk to inmate health or safety; the official must both be aware of facts

from which the inference could be drawn that a substantial risk of serious harm exists, and he

must also draw the inference.” Farmer v. Brennan, 511 U.S. 825, 837 (1994).14 “A prison

official acts with deliberate indifference ‘only if he knows that inmates face a substantial risk of

serious harm and disregards that risk by failing to take reasonable measures to abate it.’” Jones v.

Texas Dep’t of Criminal Justice, 880 F.3d 756, 759 (5th Cir. 2018) (quoting Farmer, 511 U.S. at

847) (emphasis added); see also Dockery, 3:13-cv-326-WHB-JCG, Doc. 850 at 23, 36.

        There are simply no factual allegations, much less evidence to support, that Defendants

are actively disregarding the risks posed by COVID-19 or ignoring the impact that COVID-19

could have on the prison population. Quite the contrary, MDOC is actively engaged in

attempting to prevent the infiltration of COVID-19 and implementing measures to protect

inmates and MDOC staff should the virus infect those at Parchman. See Ex. A, B, and C. As

shown by the declarations from MDOC and Centurion, the prison officials have continuously

and dutifully taken reasonable measures in an effort to address risks. Id. Prison officials cannot

be deemed to be deliberately indifferent if they “responded reasonably” to substantial risks to

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  “[O]nly the ‘unnecessary and wanton infliction of pain’ implicates the Eighth Amendment.” Wilson,
501 U.S. at 297. “It is obduracy and wantonness, not inadvertence or error in good faith, that
characterize the conduct prohibited by the Cruel and Unusual Punishments Clause, whether that conduct
occurs in connection with establishing conditions of conditions of confinement, supplying medical needs,
or restoring official control over a tumultuous cellblock.” Id. at 299 (quoting Whitley v. Albers, 475 U.S.
312, 319 (1986) (emphasis in Wilson)).
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  The “same subjective deliberate indifference standard has been applied to pre-trial detainees under the
Fourteenth Amendment as well as convicted inmates under the Eighth Amendment.” Caston v. Harris,
2013 WL 5724127, at *1 (N.D. Miss. Oct. 21, 2013) (citing Hare v. City of Corinth, 74 F.3d 633, 648
(5th Cir. 1996)). The Eighth Amendment applies to the states via the Fourteenth Amendment. See State of
Louisiana ex rel. Francis v. Resweber, 329 U.S. 459, 463 (1947).

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     Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 15 of 20 PageID #: 1101




inmate health or safety, “even if the harm ultimately was not averted.” Farmer, 511 U.S. at 844-

45. In other words, MDOC cannot guarantee that COVID-19 will not eventually infiltrate

Parchman. But as required, MDOC is taking all necessary and reasonable precautions to protect

inmates and MDOC staff. Plaintiffs have presented no evidence to show otherwise, much less

evidence that Parchman officials are ignoring the issue and failing to take reasonable measures.15

        While there is limited case law in the Fifth Circuit discussing and applying the deliberate

indifference standard to viral outbreaks on the scale of COVID-19, some guidance can be found

in cases arising out of the swine flu epidemic that impacted prisons in 2009. Courts have

recognized that prisons may not ultimately be able to prevent the introduction of diseases like

COVID-19 into the population, but corrections officials are expected to take reasonable steps to

prevent inmates from being exposed, just like MDOC is doing now. “Absent any indication that

the defendants ignored willfully the swine flu outbreak in their facilities, the plaintiff’s infection,

though unfortunate, is insufficient to support an Eighth Amendment claim.” Ayala v. NYC Dep’t

of Corr., 2011 WL 2015499, *2 (S.D.N.Y. May 9, 2011) (prisoner who contracted swine flu

could not prevail on deliberate indifference claim because prison officials took reasonable

measures to sanitize contaminated facility and prevent inmate infections); Jackson v. Rikers

Island Facility, 2011 WL 3370205, *2–3 (S.D.N.Y. Aug. 2, 2011) (corrections officials were not

deliberately indifferent to prisoner’s medical needs when they responded timely to request for

swine flu treatment); Washington v. Harrington, 2012 WL 3763964, *2–6 (E.D. Cal. Aug. 29,

2012), aff’d, 549 F. App’x 679 (9th Cir. 2013) (inmate suffering from asthma could not state



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  As stated, “there is no Eighth Amendment violation if the official ‘responded reasonably to the risk,
even if the harm ultimately was not averted.” Johnson, 385 F.3d at 525 (quoting Farmer, 511 U.S. at
844). “Prison administrators . . . should be accorded wide-ranging deference in the adoption and
execution of policies and practices that in their judgment are needed to preserve internal order and
discipline and to maintain institutional security.” Bell v. Wolfish, 441 U.S. 520, 547 (1979).

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   Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 16 of 20 PageID #: 1102




deliberate indifference claim where symptoms of swine flu were recognized and monitored and

inmate was transferred outside of prison for medical treatment).

        It is clear that MDOC is working dutifully to prevent the infiltration of COVID-19 and to

install effective protocols should inmates or MDOC staff become infected. See Ex. A, B, and C.

Accordingly, it is not substantially likely that Plaintiffs will be able to show that MDOC or

Defendants have acted with deliberate indifference to the risks of COVID-19. For that reason

alone, the Court should deny the Motion.

            b. Plaintiffs have not established a substantial threat that they will suffer
               irreparable harm unless their requested “relief” is granted.

        “Perhaps the single most important prerequisite for the issuance of a preliminary

injunction is a demonstration that if it is not granted the applicant is likely to suffer irreparable

harm before a decision on the merits can be rendered.” Trinity USA Operating, LLC v. Barker,

844 F. Supp. 2d 781, 786 (S.D. Miss. 2011) (quotation omitted). The test is whether there is a

substantial threat that Plaintiffs will suffer irreparable harm unless the Court grants the requested

relief. But Plaintiffs have offered no support to show that their requested relief would operate to

prevent COVID-19 better than the measures currently being implemented by MDOC and

Centurion. See Ex. A, B, and C. Plaintiffs’ many, conclusory allegations are wholly insufficient

to meet the “heavy burden” under this element.

        “Without question, the irreparable harm element must be satisfied by independent proof,

or no injunction may issue.” White v. Carlucci, 862 F.2d 1209, 1211 (5th Cir. 1989) (emphasis

added). Plaintiffs set forth no such “independent proof” of irreparable harm. “Indeed, where no

irreparable injury is alleged and proved, denial of a preliminary injunction is appropriate.” Canal

Auth., 489 F.2d at 574. Plaintiffs have simply not shown that there is a substantial threat that they

will suffer irreparable harm unless their requested “relief” is granted. Plaintiffs offer no support

                                                  16
     Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 17 of 20 PageID #: 1103




to show that their requested measures are as effective or are more effective than MDOC’s current

protocols. In fact, the only exhibit utilized by Plaintiffs that mentions their specific requests is a

declaration from Dr. Marc Stern, but Dr. Stern does not allege that MDOC’s current preventative

measures related to COVID-19 are inadequate. See Doc. 59-6.16 In other words, Plaintiffs have

not shown, or even alleged, that MDOC’s actions regarding COVID-19 are inadequate and will

cause harm to Plaintiffs absent Court intervention. Therefore, the Court should deny the Motion.

            c. Interfering with MDOC internal operations based only on Plaintiffs’
               suggestion, without factual backing, that MDOC should take alternative
               measures to protect inmates is harmful to the public and unlawful.

        Because Mississippi’s interest is indistinguishable from the “public’s interest,” the final

two prerequisites of the Canal Authority test are considered together. Plaintiffs must make a

“clear showing,” White, 862 F.2d at 1211, “that the threatened injury to plaintiff outweighs the

threatened harm the injunction may do to defendant; and . . . that granting the preliminary

injunction will not disserve the public interest.” Canal Auth., 489 F.2d at 572. The public interest

would be best served by implementing MDOC’s own measures without further interference, and

Plaintiffs have failed to make a “clear showing” that their proposed measures would serve the

public (or even their own) interest. White, 862 F.2d at 1211.

        As Congress’s passage of the PLRA demonstrates, it is in the public’s interest that prison

officials are free to institute measures to promote the safety of inmates, staff, and the public

without “micromanage[ment]” from plaintiffs or federal courts. Gates, 376 F.3d at 338; Bell, 441

U.S. at 562. With regard to public interest analysis, “[c]onsiderations of federalism weigh

heavily against interference by federal courts through the issuance of preliminary injunctions

against state agencies.” Edwards v. Livingston, 2016 WL 7674806, at *2 (E.D. Tex. Nov. 14,

16
  Plaintiffs have offered nothing to show that any of the Plaintiffs are of a particular age, or have a
particular health history, that makes them especially susceptible to contracting COVID-19. In fact, of the
named Plaintiffs who are still residing at Parchman, the oldest is 53 years old.

                                                    17
   Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 18 of 20 PageID #: 1104




2016). Even before the PLRA, the Fifth Circuit stated “courts are ill-equipped to deal with the

increasingly urgent problems of prison administration . . . and that it is not wise . . . to second-

guess the expert (or any other) administrators on matters on which they are better

informed.” Jones, 636 F.2d at 1368 (quotation omitted). “Proper respect for the State and for its

governmental processes requires that the . . . court exercise its jurisdiction to accord the State

considerable latitude to find mechanisms and make plans to correct the violations in a prompt

and effective way consistent with public safety.” Brown v. Plata, 563 U.S. 493, 543 (2011);

Lewis v. Casey, 518 U.S. 343, 362 (1996) (federal courts should not allow themselves to become

“enmeshed in the minutiae of prison operations”).

       To be frank, the exigencies of COVID-19 require that prison officials devote all their

resources to meeting the COVID-19 threat head-on, not to responding to requests for measures

that MDOC is already implementing, that are inappropriate, or that are not feasible. To be sure,

the threatened injury to the public, inmates, and staff from COVID-19 is significant, and MDOC

is acting reasonably to attempt to prevent the infiltration of COVID-19 into Parchman and to

ameliorate damage of any infiltration. Yet, having the Court interfere with MDOC operations

every time Plaintiffs believe they might do something differently than MDOC is harmful and

unlawful. Here, as in other cases, “interference with prison operations in such circumstances

would not be in the public’s interest as it would be a waste of judicial resources micromanaging

prison affairs.” Valigura v. Mendoza, 2005 WL 3279275, at *2 (S.D. Tex. Dec. 2, 2005).

       As shown, the public interest, as well as the interests of Plaintiffs, will be best served by

permitting MDOC to continue to implement their protocols. See Ex. A, B, and C. The Fifth

Circuit requires that courts do not “second-guess the expert (or any other) administrators on

matters on which they are better informed.” Jones, 636 F.2d at 1368. Here, MDOC is far more



                                                  18
  Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 19 of 20 PageID #: 1105




informed than Plaintiffs with regard to appropriate COVID-19 measures at Parchman. MDOC is

on the front lines of prevention and has been collaborating with top health officials, including the

CDC, Mississippi Department of Health, and United States Department of Security regarding

measures to prevent and reduce COVID-19. Ex. A. MDOC is collaborating with Centurion to

ensure that the most up-to-date data and guidance from public health officials is gathered,

studied, and followed if appropriate. Ex. B and C. The public interest would not be better served

by following Plaintiffs’ uninformed recommendations. Accordingly, the Court should deny

Plaintiffs’ motion for preliminary injunction.

                                         CONCLUSION

       For the reasons discussed above, Defendants respectfully request that the Court deny

Plaintiffs’ motion for temporary restraining order and mandatory preliminary injunction as to

COVID-19 and request such other and further relief as the Court deems appropriate under the

circumstances.

       Date: March 19, 2020.

                                                 Respectfully submitted,

                                                 TOMMY TAYLOR, in his official capacity as
                                                 the Interim Commissioner of the Mississippi
                                                 Department of Corrections, and MARSHAL
                                                 TURNER, in his official capacity as the
                                                 Superintendent of the Mississippi State
                                                 Penitentiary

                                      By:        /s/ Trey Jones
                                                 William Trey Jones, III
                                                 One of Their Attorneys




                                                   19
   Case: 4:20-cv-00007-DMB-JMV Doc #: 63 Filed: 03/19/20 20 of 20 PageID #: 1106




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                                 CERTIFICATE OF SERVICE

       I, Trey Jones, hereby certify that on March 19, 2020, I caused the foregoing pleading to

be electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record and registered participants.

                                               /s/ Trey Jones
                                               William Trey Jones, III
                                               One of the Attorneys for the Defendants




                                                  20
